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       PLEASE CAREFULLY REVIEW THIS MOTION AND OBJECTION AND THE
       EXHIBITS THERETO TO DETERMINE WHETHER SAME AFFECTS YOUR
       CLAIM. ANY CLAIMANT WHO DOES NOT AGREE TO THE TREATMENT
           PROPOSED HEREIN MUST FILE AND SERVE A RESPONSE BY
          NOVEMBER 22, 2023 AT 4:00 P.M. (PREVAILING EASTERN TIME)

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    TK HOLDINGS, INC., et al.,                                  Case No. 17-11375 (BLS)

                     Debtors.1                                  Jointly Administered

                                                                Response Deadline: Nov. 22, 2023 at 4:00 p.m. (ET)
                                                                Hearing Date: Dec. 12, 2023 at 10:00 a.m. (ET)



  NOTICE OF HEARING (1) TO CONSIDER SECOND JOINT MOTION OF ERIC D.
   GREEN, IN HIS CAPACITY AS TRUSTEE OF THE TAKATA AIRBAG TORT
COMPENSATION TRUST FUND, AND JOSEPH J. FARNAN, JR., IN HIS CAPACITY
AS TRUSTEE OF THE REORGANIZED TK HOLDINGS TRUST, FOR ENTRY OF AN
 ORDER DIRECTING BIFURCATION OF CERTAIN CLAIMS; (2) THIRTY-EIGHTH
    OMNIBUS OBJECTION OF JOSEPH J. FARNAN, JR., IN HIS CAPACITY AS
TRUSTEE OF THE REORGANIZED TK HOLDINGS TRUST TO CLASS 6 PORTIONS
 OF CERTAIN CLAIMS (UNLIQUIDATED, CONTINGENT AND/OR INSUFFICIENT
              INFORMATION CLAIMS—NON-SUBSTANTIVE)

             PLEASE TAKE NOTICE that on November 2, 2023, Eric D. Green, in his capacity as

trustee (the “PSAN PI/WD Trustee”) of the PSAN PI/WD Trust d/b/a the Takata Airbag Tort

Compensation Trust Fund (the “TATCTF”), and Joseph J. Farnan, Jr., in his capacity as trustee

(the “RTKH Trustee”) of the Reorganized TK Holdings Trust (the “RTKH Trust,”) filed with the


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
      Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc.
      (8331); TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico,
      S.A. de C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except
      as otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter
      11 cases. The location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan
      48326.


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United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) the Second

Joint Motion of Eric D. Green, In His Capacity as Trustee of The Takata Airbag Tort

Compensation Trust Fund, and Joseph J. Farnan, Jr., In His Capacity as Trustee of The

Reorganized TK Holdings Trust, for Entry of an Order Directing Bifurcation of Certain Claims

(the “Joint Motion”) and the Thirty-Eighth Omnibus Objection of Joseph J. Farnan, Jr., In His

Capacity as Trustee of The Reorganized TK Holdings Trust to Class 6 Portions of Claims

(Unliquidated, Contingent and/or Insufficient Information Claims--Non-Substantive) (the “RTKH

Trust Objection”).

        PLEASE TAKE FURTHER NOTICE that if the holder of a claim that is the subject of

the Joint Motion and RTKH Trust Objection wishes to respond to the Joint Motion and/or RTKH

Trust Objection, the holder must file a written response with: (i) Office of the Clerk of the United

States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801; (ii) Brown Rudnick LLP Seven Times Square New York, New

York 10036 (Attn: David J. Molton) and Blank Rome LLP 1201 N. Market Street, Suite 800

Wilmington, Delaware 19801 (Attn: Stanley B. Tarr), and (iii) Pachulski Stang Ziehl & Jones LLP

919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, Delaware 19899 (Courier

19801) (Attn: Peter J. Keane) so as to be received no later than 4:00 p.m. (Prevailing Eastern

Time) on November 22, 2023 (the “Response Deadline”).

        PLEASE TAKE FURTHER NOTICE that if no response to the Joint Motion and/or the

RTKH Trust Objection is timely filed and received in accordance with the above procedures, an

Order may be entered sustaining the Joint Motion and the RTKH Objection without further notice

or a hearing. If a response is properly filed, served and received in accordance with the above

procedures and such response is not resolved, a hearing to consider such response and the Joint



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Motion and the RTKH Trust Objection will be held The Honorable Brendan L. Shannon, United

States Bankruptcy Judge for the District of Delaware, at the Bankruptcy Court, 824 North Market

Street, 6th Floor, Courtroom 1, Wilmington, Delaware 19801 on December 12, 2023 at

10:00 a.m. (prevailing Eastern Time) (the “Hearing”). Only a response made in writing and

timely filed and received will be considered by the Bankruptcy Court at the Hearing.

        IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE

BANKRUPTCY COURT MAY SUSTAIN THE JOINT MOTION AND/OR THE RTKH

OBJECTION WITHOUT FURTHER NOTICE OR HEARING.


Dated: November 2, 2023                     BLANK ROME LLP
       Wilmington, Delaware
                                            /s/ Stanley B. Tarr
                                            Stanley B. Tarr (DE No. 5535)
                                            1201 N. Market Street, Suite 800
                                            Wilmington, Delaware 19801
                                            Telephone:      (302) 425-6400
                                            E-mail:         tarr@blankrome.com

                                                -AND-

                                            BROWN RUDNICK LLP
                                            David J. Molton (admitted pro hac vice)
                                            Gerard T. Cicero (admitted pro hac vice)
                                            Seven Times Square
                                            New York, New York 10036
                                            Telephone:     (212) 209-4800
                                            E-mail:        dmolton@brownrudnick.com
                                                           gcicero@brownrudnick.com


                                            Attorneys for Eric D. Green, in his capacity as
                                            Trustee of the Takata Airbag Tort Compensation
                                            Trust Fund




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  Dated: November 2, 2023               PACHULSKI STANG ZIEHL & JONES LLP
         Wilmington, Delaware

                                        /s/ Peter J. Keane
                                        Laura Davis Jones (Bar No. 2436)
                                        David M. Bertenthal (CA Bar No. 167624)
                                        Peter J. Keane (Bar No. 5503)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, DE 19899 (Courier 19801)
                                        Telephone: 302-652-4100
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                                        Attorneys for the Trustee of the Reorganized TK
                                        Holdings Trust




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